                             Case 1:25-cv-00109-DKW-WRP     Document 1-1         Filed 03/12/25    Page 1 of 2 PageID.15
                                                            Exhibit A to the Complaint
Location: Waianae, HI                                                                                  IP Address: 75.85.105.218
Total Works Infringed: 26                                                                              ISP: Spectrum
 Work            Info Hash                                  UTC                 Site              Published         Registered     Registration
 1               50EB3A81256ED806B8C03530B3AEB4EFE3AF96D1         02/19/2025    Blacked           02/07/2025        02/18/2025     PA0002515979
                                                                     04:23:33
 2               90AC10449AFFDE8CBFE6FE592B4D7E8ECAAA8E7F         02/19/2025    Blacked           02/02/2025        02/18/2025     PA0002516037
                                                                     04:22:06
 3               4194F4803242BCE1CDD90B44A0AB889D83E63454         02/16/2025    Blacked           02/12/2025        02/18/2025     PA0002516029
                                                                     02:02:56
 4               99D5305F4A5F5737A0F40F4B30D7904B1F6BB157         02/16/2025    Blacked Raw       02/15/2025        02/18/2025     PA0002516031
                                                                     01:43:21
 5               307C8CF35E5FA67A4A75F9B4ACD9025F7AE88BF7         01/15/2025    Blacked           01/13/2025        01/15/2025     PA0002509290
                                                                     02:51:51
 6               560A755757D27B4A0DA0057842A4924B828998A7         12/30/2024    Blacked Raw       09/21/2022        10/05/2022     PA0002373950
                                                                     03:00:04
 7               8031B4A7A5CFCECBC796D4772440BFC5016C11AA         12/12/2024    Blacked           06/24/2018        07/26/2018     PA0002112154
                                                                     04:33:47
 8               45BD7EB6EC3A335403A10A66A52919DBE8FD0208         12/12/2024    Blacked           02/14/2020        03/18/2020     PA0002241448
                                                                     04:29:18
 9               FF9078124665CA3600FDEE8E489C451351FCE770         12/03/2024    Blacked Raw       07/25/2022        08/29/2022     PA0002367727
                                                                     02:54:18
 10              0ADB82B8A9CA64CE3870E2E2B79C331AD1F7305D         09/18/2024    Blacked           09/10/2024        09/17/2024     PA0002490365
                                                                     01:39:54
 11              7469889e196fa41fe884075c511477245537d338         09/18/2024    Blacked Raw       09/09/2024        09/17/2024     PA0002490318
                                                                     01:34:11
 12              50BEEB3000C5F9FFAC5A6B3014D2851927C87B42         08/25/2024    Blacked           07/17/2024        08/14/2024     PA0002484871
                                                                     04:12:55
 13              5AC6A1971565BE96598E8C9318411585D26A87DC         08/25/2024    Blacked           07/22/2024        08/14/2024     PA0002484869
                                                                     04:06:48
 14              9FEC799515E1508F383A3004FFFFE9CDB9D6BC0C         08/25/2024    Blacked Raw       08/05/2024        08/14/2024     PA0002484841
                                                                     04:02:38
 15              6CA595682883DD538B6927A0551C84795B80DA0B         08/25/2024    Blacked           07/27/2024        08/14/2024     PA0002484822
                                                                     03:59:52
 16              0A98B32BB2CAC1FFD2FB5298EBAA3B80A4B4177E         08/13/2024    Blacked           03/09/2024        04/10/2024     PA0002464914
                                                                     03:34:32
                   Case 1:25-cv-00109-DKW-WRP     Document 1-1         Filed 03/12/25    Page 2 of 2 PageID.16
Work   Info Hash                                  UTC                 Site              Published     Registered   Registration
17     f6129376f061aa9e236f1a34e67611361b68ce6a         05/16/2024    Blacked           05/08/2024    06/18/2024   PA0002476746
                                                           06:48:31
18     5D69BC93D3A194EA942CAC720EB78042798A46FF         05/16/2024    Blacked           05/13/2024    06/18/2024   PA0002476744
                                                           06:47:44
19     20072cd3bfb57135be6b9284b6c3ebbdbac82056         03/13/2024    Blacked Raw       07/06/2018    07/26/2018   PA0002112158
                                                           04:57:45
20     8B30360731AC1683851D71F3DF14C75C2DEB5E40         03/09/2024    Blacked Raw       08/05/2018    09/01/2018   PA0002119682
                                                           02:09:38
21     d31cbc39e31ea20141eb847e24725f06cfc004ab         03/08/2024    Blacked           04/05/2017    06/05/2017   PA0002052859
                                                           06:39:14
22     9FF80B2839A26436102D5F29181B6B608EAAC14F         03/08/2024    Blacked           07/14/2018    08/07/2018   PA0002131895
                                                           06:35:29
23     D7D96219F75CB298E2C1029F953017860E5C1004         03/08/2024    Blacked           06/19/2018    07/14/2018   PA0002130450
                                                           06:32:25
24     DDD2B1604C70AD3DA7C202C04003CF9E281209D4         03/08/2024    Blacked           03/26/2017    06/05/2017   PA0002052857
                                                           06:32:24
25     9738b248e82a89a9f55b4b1a84920fd3349b4374         03/06/2024    Vixen             09/29/2021    11/11/2021   PA0002321322
                                                           02:55:12
26     D76DB1B1BA35E0E84328956E3339D255F8EBB0EA         10/20/2023    Blacked Raw       10/09/2023    10/18/2023   PA0002435308
                                                           05:03:23
